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United States District Court
Eastern District of New York                                     1:19-cv-05566

Janicia Hyde, individually and on behalf of
all others similarly situated,
                                 Plaintiff
                                                                   Complaint
                   - against -

WWF Operating Company, LLC,
                                 Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.       WWF Operating Company, LLC (“defendant”) manufactures, distributes, markets,

labels and sells soymilk beverages purporting to be characterized by vanilla under the Silk brand

(“Products”).

       2.       Over the past ten years, the number of dairy milk substitutes has proliferated and

includes “milks” made from numerous agricultural commodities.



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        3.      Reasons for consuming non-dairy milks include avoidance of animal products due to

health, environmental or ethical reasons, dietary goals or food allergies.

        4.      Two of the most popular milk alternatives are made from soybeans and almonds.

        5.      Reasons for consumers choosing soymilk instead of almondmilk include tree nut

allergies, creamier consistency, greater amount of soy protein and more B vitamins, magnesium

and potassium.1

        6.      Reasons for consumers choosing almondmilk instead of soymilk include soy

allergies, sweeter taste, similar consistency to skim and low-fat milk, nutty flavor and higher levels

of vitamin E.

        7.      Recent studies indicate that of the 7.2 million U.S. adults with food allergies, 3

million are allergic to tree nuts while 1.5 million are allergic to soy.2

        8.      Whether due to few people being allergic to soy and tree nuts (almonds) or the

different qualities of each product type, consumers have preferences for one over the other and

seldom switch between their “plant milk” of choice.

        9.      Defendant’s Products are available to consumers nationwide from third-party

retailers, including brick and mortar and online stores and directly from defendant’s website.

        10.     The Products are sold in sizes including 8, 32 and 64 ounces in Vanilla, Unsweet

Vanilla, Very Vanilla and Organic Vanilla.

        11.     The Products’ front labels and/or advertising makes direct representations with

respect to their primary recognizable and characterizing flavor, by the word “VANILLA” and/or

vignette.3


1
  Yahoo Food, Almond Milk Vs. Soy Milk: Which Is Better?, September 5, 2014
2
  Ruchi Gupta et al., "Prevalence and severity of food allergies among US adults," JAMA network open 2, no. 1
(2019): e185630-e185630.
3
  21 C.F.R. § 101.22(i).


                                                     2
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                         Vanilla          Unsweet Vanilla




                       Very Vanilla       Organic Vanilla




                                      3
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I. Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand


        12.     The tropical orchid commonly known as “vanilla” does not develop its prized flavor

on its own.

        13.     By law, vanilla refers to the “the total sapid and odorous principles extractable from

one-unit weight of vanilla beans.”4

        14.     Shortly after the passage of the Pure Food and Drugs Act of 1906, E. M. Chace,

Assistant Chief of the Foods Division of the U.S. Department of Agriculture’s Bureau of

Chemistry, noted “There is at least three times as much vanilla consumed [in the United States] as

all other flavors together.”5

        15.     This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise methods to imitate vanilla’s flavor and appearance.

        16.     Though the Pure Food and Drugs Act was enacted to “protect consumer health and

prevent commercial fraud,” this was but one episode in the perpetual struggle against those who

have sought profit through sale of imitation and lower quality commodities, dressed up as the

genuine articles.6

        17.     Daily headlines tell a story of a “resurgent” global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.7




4
  21 C.F.R. §169.3(c)
5
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
6
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
7
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.


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        18.      While “food fraud” has no agreed-upon definition, its typologies encompass an ever-

expanding, often overlapping range of techniques with one common goal: giving consumers less

than what they bargained for.

        19.      Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.8

        20.      The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities.9

         Type of Food Fraud                                   Application to Vanilla

    ➢ Cheating on analytical tests            •   Manipulation of the carbon isotope ratios to
       by containing markers                      produce synthetic vanillin with similar carbon
       specifically tested for                    isotope composition to natural vanilla

    ➢ Cheating by giving                      •   Ground vanilla beans and/or seeds to provide visual
       consumers the impression                   appeal as “specks” so consumer thinks they are a
       the food or ingredient is                  result of the product containing real vanilla bean,
       present in greater amounts                 when the ground beans have been exhausted of
       and/or higher quality form                 flavor, and any vanilla flavor tasted may not even
       than it actually contains                  be due to the presence of real vanilla

    ➢ Substitution or Replacement             •   Tonka beans, which are banned from entry to the
       a food product/ingredient                  United States, instead of vanilla beans
       with an alternate food                 •   Coumarin, phytochemical found in Tonka beans, to
       product/ingredient of lower                increase the vanilla flavor perception
       quality

    ➢ Coloring agents to produce a            •   Caramel in vanilla extracts to darken the


8
  Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
9
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


                                                     5
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        more attractive color                         substance’s color additives like caramel to enhance
                                                      the hue of an imitation vanilla so it more closely
                                                      resembles real vanilla10
                                                 •    Annatto and turmeric in dairy products purporting
                                                      to be flavored with vanilla, to darken the color to
                                                      better resemble the hue of rich, yellow butter

     ➢ Addition of less expensive                •    Synthetically produced ethyl vanillin, derived from
        substitute ingredient to                      wood pulp, tree bark or coal tar
        mimic flavor of more
        valuable component

     ➢ Ingredient list deception11               •    Subtle,    yet    deliberate     misidentification       and
                                                      obfuscation of a product’s components and
                                                      qualities as they appear on the ingredient list –
                                                      “ground vanilla beans” as containing actual vanilla
                                                      flavor when they are devoid of any naturally
                                                      occurring vanilla flavor
                                                 •    “Vanilla With Other Natural Flavor” sold by flavor
                                                      suppliers to manufacturers, which contains vanillin
                                                      as part of the “WONF,” in violation of vanilla-
                                                      vanillin regulations; manufacturers then deceive
                                                      consumers by labeling ingredient “natural flavor”

     ➢ Diluting/Extending                        •    Combination with flavoring substances such as
                                                      propenyl guaethol (“Vanitrope”), a “flavoring agent
                                                      [, also] unconnected to vanilla beans or vanillin, but
                                                      unmistakably producing the sensation of vanilla”12




10
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
11
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar
12
   Berenstein, 423.


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                                             •    “Spiking” or “fortification” of vanilla through
                                                  addition of natural flavors including vanillin, which
                                                  simulates vanilla taste but obtained from tree bark

     ➢ Compounding – “to mix                 •    “Flavor Compounding Is a Skilled Art and Science
         flavor materials together at             Designed to Produce a Flavor Perception That
         a special ratio in which                 Seems to be Authentic or at Least Derived from a
         they [sic] compliment each               Natural Source”14
         other to give the desirable         •    2018: According to the head of “taste solutions” at
         aroma and taste.”13                      global conglomerate Kerry, “The challenge is to
                                                  find a vanilla flavor that matches the taste of pure
                                                  vanilla natural extracts.”15
                                             •    The solution? “[G]et creative” and “build a
                                                  compounded vanilla flavor with other natural
                                                  flavors,” Mr. Curtis said. “This solution can provide
                                                  the same vanilla taste expectation while requiring a
                                                  smaller quantity of vanilla beans. The result is a
                                                  greater consistency in pricing, availability and
                                                  quality.”
                                             •    1911: The “public should clearly understand” that
                                                  flavor     combinations      such   as   “vanilla   and
                                                  vanillin…vanilla flavor compound,” etc., are not
                                                  “vanilla    [extract]   no     matter    what   claims,
                                                  explanations or formulas are given on the label.”16


II. The Unqualified Representations as “Vanilla” are Misleading


        21.   The front labels represent the Products’ characterizing flavor is vanilla and that they


13
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
14
   Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley, 1985, p. 611.
15
   Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
16
   Kansas State Board of Health, Bulletin, Vol. 7, 1911, p. 168.


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contain a characterizing food ingredient, vanilla flavoring or vanilla extract, that is sufficient to

independently characterize the Products.

           22.    The unqualified, prominent and conspicuous representations as “Vanilla” is false,

deceptive and misleading because they contain flavors other than vanilla, as revealed by “Natural

Flavors” on the ingredient list.17

                                             Ingredient List (Vanilla)




                     INGREDIENTS: Soymilk (Filtered Water, Soybeans), Cane
                     Sugar, Vitamin and Mineral Blend (Calcium Carbonate, Vitamin
                     A Palmitate, Vitamin D2, Riboflavin [B2], Vitamin B12), Sea Salt,
                     Natural Flavor, Gellan Gum, Sodium Ascorbate (to protect
                     freshness).

           23.    If the “natural flavors” on the ingredient list only consisted of vanilla flavoring or

vanilla extract, these higher value ingredients would be declared by their common or usual names

instead of the opaque and ubiquitous “natural flavor.”

           24.    “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to

combinations of natural flavors.18


17
     The unsweetened vanilla product contains the same ingredients except for cane sugar.
18
     21 C.F.R. § 101.22(a)(3).


                                                           8
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         25.    Reasons for combining flavors prior to their addition to the food include the volatile

nature of flavoring constituents, the ability to make misleading representations with respect to a

product’s flavor, ease of us and consistency.


     A. Vanilla with Other Natural Flavors by Itself Would be Misleading


         26.    Where a flavor is derived from natural sources other than the characterizing flavor

(i.e., vanilla) that simulates, resembles or reinforces a product’s characterizing flavor which is

derived from the presence of the food ingredient – i.e., vanilla flavoring or vanilla extract – such

flavors are known as “other natural flavors” or “WONF flavors.”19

         27.    A product which contains “other natural flavors” is required to be designated on the

front label by “[CHARACTERIZING FLAVOR] + [FLAVORED] + WONF.”20

         28.    The ingredient most commonly used in the trade to describe a combination of flavors

from real vanilla and non-vanilla natural sources such as tree bark or lignin, which simulate and

resemble vanilla is “Vanilla With Other Natural Flavors” or “Vanilla WONF.”21

         29.    “Vanilla With Other Natural Flavors” is often declared as “Natural Vanilla Flavor

with Other Natural Flavor,” “Natural Vanilla Flavor, [followed separately by] Natural Flavor” or

“Natural Flavor(s)”.

         30.    If the Products contain an insufficient amount of vanilla to independently

characterize the Products and the “other natural flavors” do not simulate or resemble vanilla, a

non-misleading description would be “Natural Vanilla Flavored Soymilk” or “Vanilla Flavored


19
   21 C.F.R. § 101.22(i)(1)(iii).
20
   21 C.F.R. § 101.22(i)(1)(iii).
21
   21 C.F.R. § 101.22(i)(1)(iii) (“If the food contains both a characterizing flavor from the product whose flavor is
simulated and other natural flavor which simulates, resembles or reinforces the characterizing flavor, the food shall
be labeled in accordance with the introductory text and paragraph (i)(1)(i) of this section and the name of the food
shall be immediately followed by the words "with other natural flavor" in letters not less than one-half the height of
the letters used in the name of the characterizing flavor.”)


                                                          9
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 Soymilk.”22

          31.    If the Products’ natural flavor ingredient refers to a “Vanilla WONF” its flavor could

 be described as “Vanilla Flavored Soymilk With Other Natural Flavor.”

          32.    However, such a description would cause consumers to expect the Products contain

 the standardized vanilla ingredients – vanilla flavoring or vanilla extract – and a greater amount

 of these high value products, when they actually contain a compounded vanilla flavor.

          33.    Since the amounts of vanilla flavoring or vanilla extract and natural flavors have a

 material bearing on the price and consumer acceptance of the Products, their identity statement

 should be accompanied by the percentages of vanilla and non-vanilla flavors, i.e., 50% vanilla

 flavor and 50% non-vanilla flavors.23

          34.    The percentage requirements would distinguish the flavoring component in the

 Products from those which contain the standardized, full strength ingredients.


      B. Vanilla WONF with Added Vanillin Would be Misleading


          35.    If the “WONF” component of the Vanilla WONF contained vanillin from a non-

 vanilla natural source, it would be considered a vanilla-vanillin combination ingredient: Vanilla-

 vanillin extract, Vanilla-vanillin flavoring and Vanilla-vanillin powder.24

          36.    The labeling and disclosure for such products would be controlled not by the general

 flavoring regulations but by the vanilla standards, where there is a conflict between them.

          37.     The combination of vanilla and vanillin requires the name of the ingredient on the

 ingredient list be “followed immediately by the statement ‘contains vanillin, an artificial flavor (or


 22
    21 C.F.R. § 101.22(i)(1)(i) (“If the food is one that is commonly expected to contain a characterizing food ingredient,
 e.g., strawberries in "strawberry shortcake", and the food contains natural flavor derived from such ingredient and an
 amount of characterizing ingredient insufficient to independently characterize the food”).
 23
    21 C.F.R. § 102.5(b).
 24
    21 C.F.R. § 169.180, § 169.181, § 169.182.


                                                            10
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 flavoring),’” even if the vanillin is made from natural materials and through a natural process 25

            38.    If a product made with a vanilla-vanillin combination ingredient represented that its

 characterizing flavor was vanilla, its front label would be required to declare the presence of

 vanillin and/or artificial flavor(s).

            39.    These requirements prevent consumers from being misled by products which

 “boost,” “fortify” or “spike” a miniscule amount of real vanilla with the addition of vanillin.

            40.    Without proportionally conspicuous disclosure of a product’s vanilla and vanillin

 components, consumers would pay more money for products that may taste like vanilla even

 though the taste is not derived from vanilla beans.


 III. Conclusion


            41.    The proportion of the characterizing component, vanilla, has a material bearing on

 price or consumer acceptance of the Products because it is more expensive and desired by

 consumers.

            42.    The composition of the natural flavors used in the Products is known only to

 defendant at this time such that an accurate and non-misleading flavor designation cannot be

 determined beyond the present conclusion that the unqualified representation as vanilla is

 misleading and deceptive.

            43.    Had Plaintiff and Class members known the truth about the Products, they would not

 have bought the Products or would have paid less.

            44.    The Products contain other representations which are misleading and deceptive.

            45.    As a result of the false and misleading labeling, the Products cost no less than $5.99



 25
      See 21 C.F.R. § 169.180(b), § 169.181(b), § 169.182(b).


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 per 64 FL OZ (1.5 L), excluding tax – premium prices compared to other similar products

 represented in a non-misleading way.

                                        Jurisdiction and Venue


         46.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

         47.   Upon information and belief, the aggregate amount in controversy is more than

 $5,000,000.00, exclusive of interests and costs.

         48.   This court has personal jurisdiction over defendant because it conducts and transacts

 business, contracts to supply and supplies goods within New York.

         49.   Venue is proper because plaintiff and many class members reside in this District and

 defendant does business in this District and State.

         50.   A substantial part of events and omissions giving rise to the claims occurred in this

 District.

                                                    Parties

         51.   Plaintiff is a citizen of Kings County, New York

         52.   Defendant is a Colorado limited liability company with a principal place of business

 in Broomfield, Broomfield County, Colorado and upon information and belief, at least one

 member of defendant is not a citizen of New York.

         53.   During the class period, Plaintiff purchased one or more of the Products identified

 herein for personal use, consumption or application based on the above representations, for no less

 than the price indicated, supra, excluding tax, within their districts and/or states.

         54.   Plaintiff would consider purchasing the Products again if there were assurances that

 the Products’ representations were no longer misleading.

                                           Class Allegations



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          55.   The classes will consist of all consumers in all 50 states with sub-classes for the

 individual states and nationwide classes.

          56.   Plaintiff will represent her New York state sub-class of persons who purchased any

 Products containing the actionable representations during the statutes of limitation.

          57.   Common questions of law or fact predominate and include whether the

 representations were likely to deceive reasonable consumers and if Plaintiff and class members are

 entitled to damages.

          58.   Plaintiff’s claims and the basis for relief are typical to other members because all

 were subjected to the same representations.

          59.   Plaintiff is an adequate representative because her interests do not conflict with other

 members.

          60.   No individual inquiry is necessary since the focus is only on defendant’s practices

 and the class is definable and ascertainable.

          61.   Individual actions would risk inconsistent results, be repetitive and are impractical

 to justify, as the claims are modest.

          62.   Plaintiff’s counsel is competent and experienced in complex class action litigation

 and intends to adequately and fairly protect class members’ interests.

          63.   Plaintiff seeks class-wide injunctive relief because the practices continue.

                           New York General Business Law (“GBL”) §§ 349 & 350
                        and Consumer Protection Statutes of Other States and Territories

          64.   Plaintiff asserts causes of action under the consumer protection statutes of New York

 and may be subsequently joined by plaintiffs from other states under the consumer protection acts

 below.

    a. Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-1, et. seq.;
    b. Alaska Unfair Trade Practices and Consumer Protection Act, Ak. Code § 45.50.471, et.


                                                   13
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        seq.;
    c. Arizona Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521 et. seq.;
    d. Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.;
    e. California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. and Unfair
        Competition Law, Cal. Bus. Prof. Code §§ 17200- 17210 et. seq.;
    f. Colorado Consumer Protection Act, Colo Rev. Stat § 6-1-101, et. seq.;
    g. Connecticut Unfair Trade Practices Act, Conn. Gen Stat § 42-110a, et. seq.;
    h. Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et. seq.;
    i. District of Columbia Consumer Protection Procedures Act, D.C. Code §§ 28-3901, et. seq.;
    j. Florida Deceptive and Unfair Trade Practices, Act Florida Statutes§ 501.201, et. seq.;
    k. Georgia Fair Business Practices Act, §10-1-390 et. seq.;
    l. Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statutes § 480 1, et. seq. and
        Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised Statute § 481A-1, et. seq.;
    m. Idaho Consumer Protection Act, Idaho Code § 48-601, et. seq.;
    n. Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS § 505/1, et. seq.;
    o. Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-0.5-1 et. seq.;
    p. Iowa Consumer Fraud and Private Right of Action for Consumer Frauds Act, Iowa Code
        Ann. § 714.16 et seq.;
    q. Kansas Consumer Protection Act, Kan. Stat. Ann §§ 50 626, et. seq.;
    r. Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §§ 367.110, et. seq., and the
        Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann § 365.020, et. seq.;
    s. Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat. Ann. §§
        51:1401, et. seq.;
    t. Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et. seq., and Maine Uniform
        Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et. seq.;
    u. Maryland Consumer Protection Act, Md. Code, Com. Law § 13-101 et seq.;
    v. Massachusetts Unfair and Deceptive Practices Act, Mass. Gen Laws Ch. 93A;
    w. Michigan Consumer Protection Act, §§ 445.901, et. seq.;
    x. Minnesota Prevention of Consumer Fraud Act, Minn. Stat §§ 325F.68, et. seq.; and
        Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. § 325D.43, et. seq.;
    y. Mississippi Consumer Protection Act, Miss. Code An. §§ 75-24-1, et. seq.;
    z. Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et. seq.;
    aa. Montana Unfair Trade Practices and Consumer Protection Act, Mont. Code § 30-14-101,
        et. seq.;
    bb. Nebraska Consumer Protection Act, neb. Rev. Stat. § 59 1601 et. seq., and the Nebraska
        Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-301, et. seq.;
    cc. Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §§ 598.0903, et. seq.;
    dd. New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et. seq.;
    ee. New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8 1, et. seq.;
    ff. New Mexico Unfair Practices Act, N.M. Sta. Ann. §§ 57 12 1, et. seq.;
    gg. New York General Business Law (“GBL”) §§ 349 & 350;
    hh. North Carolina General Statutes Chapter 75: Monopolies, Trusts and Consumer Protection,
        N.C. Gen. Stat. §§ 75-1.1 through 75-35;
    ii. North Dakota Consumer Fraud Act, N.D. Cent. Code §§ 51 15 01, et. seq.;
    jj. Ohio Rev. Code Ann. §§ 1345.02 and 1345.03; Ohio Admin. Code §§ 109;
    kk. Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et. seq.;



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    ll. Oregon Unfair Trade Practices Act, Ore. Rev. Stat. § 646.608(e) & (g);
    mm. Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 Pa. Stat. Ann. §§
        201-1 et. seq.;
    nn. Rhode Island Unfair Trade Practices and Consumer Protection Act, R.I. Gen. Laws § 6-
        13.1-1 et. seq.;
    oo. South Carolina Unfair Trade Practices Act, S.C. Code Law § 39-5-10, et. seq.;
    pp. South Dakota’s Deceptive Trade Practices and Consumer Protection Law, S.D. Codified
        Laws §§ 37 24 1, et. seq.;
    qq. Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101 et. seq.;
    rr. Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. & Com. Code Ann.
        §§ 17.41 et. seq.;
    ss. Utah Consumer Sales Practices Act, Utah Code Ann. §§ 13-11-1 et. seq.;
    tt. Vermont Consumer Fraud Act, Vt. Stat. Ann. Tit. 9, § 2451, et. seq.;
    uu. Virginia Consumer Protection Act, Va. Code Ann. §§ 59.1-196 et. seq.;
    vv. Washington Consumer Fraud Act, Wash. Rev. Code § 19.86/0101, et. seq.;
    ww. West Virginia Consumer Credit and Protection Act, West Virginia Code § 46A-6-101,
        et. seq.;
    xx. Wisconsin Deceptive Trade Practices Act, Wis. Stat. §§ 100.18, et. seq.; and
    yy. Wyoming Consumer Protection Act, Wyo. Stat. Ann.§§ 40-12-101 et. seq.;

        65.   Defendant’s acts, practices, advertising, labeling, packaging, representations and

 omissions are not unique to the parties and have a broader impact on the public.

        66.   Plaintiff and class members desired to purchase products which were as described

 by defendant and expected by reasonable consumers, given the product type.

        67.   After mailing appropriate notice and demand, any subsequent plaintiff in a State

 where notice is required prior to seeking damages under that State’s Consumer Protection Statutes,

 will have mailed and/or have amended this complaint to request damages.

        68.   Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

 because (1) it gives the impression to consumers the Products are only flavored by the

 characterizing ingredient and contains more of the characterizing ingredient than they actually do

 and (2) the ingredient list fails to dispel ambiguity and reinforces the front-label impression as to

 a greater amount of the characterizing ingredients.

        69.   Plaintiff and class members relied on the representations and omissions, paying more

 than they would have, causing damages.


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                                          Negligent Misrepresentation

        70.      Plaintiff incorporates by reference all preceding paragraphs.

        71.      Defendant misrepresented the substantive, quality, compositional, organoleptic

 and/or nutritional attributes of the Products through representing the characterizing ingredient was

 present in greater amount than it was and affirmatively representing the Products was flavored

 only by vanilla.

        72.      Defendant had a duty to disclose and/or provide non-deceptive labeling of the

 Products and knew or should have known same were false or misleading.

        73.      This duty is based on defendant’s position as an entity which has held itself out as

 having special knowledge and experience in the production, service and/or sale of the product or

 service type.

        74.      The representations took advantage of consumers’ (1) cognitive shortcuts made at

 the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

        75.      Plaintiff and class members reasonably and justifiably relied on these negligent

 misrepresentations and omissions, which served to induce and did induce, the purchase of the

 Products.

        76.      Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        77.      Plaintiff incorporates by reference all preceding paragraphs.

        78.      Defendant manufactures and sells products which contain the identified

 characterizing ingredients and/or flavors which are desired by consumers.

        79.      The Products warranted to Plaintiff and class members that they possessed



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 substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

 other attributes which they did not.

         80.   Defendant’s front labels informed and warranted to Plaintiff the Products contained

 only the characterizing ingredients to impart flavor, and that they were present in amounts

 sufficient to independently characterize the food and that the flavor imparted to the Products was

 a result of the food ingredients and not “natural flavors” or “other natural flavors.”

         81.   Defendant had a duty to disclose and/or provide a non-deceptive description of the

 Products flavoring on the front labels and knew or should have known same were false or

 misleading.

         82.   This duty is based, in part, on defendant’s position as one of the most recognized

 companies in the nation in this sector.

         83.   Plaintiff provided or will provide notice to defendant and/or its agents,

 representatives, retailers and their employees.

         84.   The Products did not conform to their affirmations of fact and promises due to

 defendant’s actions and were not merchantable.

         85.   Plaintiff and class members relied on defendant’s claims, paying more than they

 would have.

                                               Fraud


         86.   Plaintiff incorporates by references all preceding paragraphs.

         87.   Defendant’s purpose was to sell products which purported to contain valuable and

 desired characterizing ingredient(s) or flavor(s), and represent the Products were exclusively or

 predominantly flavored from that ingredient and contained sufficient independent amounts of

 same.



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        88.    The Products were not flavored exclusively from the characterizing ingredient but

 from flavor compounds blended together and labeled as “natural flavor” and “artificial flavor.”

        89.    Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

 Products contained flavor from non-vanilla sources on the front label, because it knows consumers

 prefer foods that are flavored from food ingredients instead of added flavor ingredients and contain

 enough of the characterizing food ingredients to flavor the Products.

        90.    Defendant’s intent was to secure economic advantage in the marketplace against

 competitors by appealing to consumers who value products with sufficient amounts of the

 characterizing ingredients for the above-described reasons.

        91.    Plaintiff and class members observed and relied on defendant’s claims, causing them

 to pay more than they would have, entitling them to damages.

                                            Unjust Enrichment

        92.    Plaintiff incorporates by references all preceding paragraphs.

        93.    Defendant obtained benefits and monies because the Products were not as

 represented and expected, to the detriment and impoverishment of plaintiff and class members,

 who seek restitution and disgorgement of inequitably obtained profits.

                                  Jury Demand and Prayer for Relief

 Plaintiff demands a jury trial on all issues.

     WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying plaintiff as representative and the

        undersigned as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

        challenged practices to comply with the law;

    3. Injunctive relief to remove and/or refrain from the challenged representations, restitution


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       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

    4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;

    5. Awarding costs and expenses, including reasonable fees for plaintiff’s attorneys and

       experts; and

    6. Other and further relief as the Court deems just and proper.

 Dated: October 2, 2019
                                                               Respectfully submitted,

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                                                               /s/Spencer Sheehan
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 1:19-cv-05566
 United States District Court
 Eastern District of New York

 Janicia Hyde, individually and on behalf of all others similarly situated


                                          Plaintiff


         - against -


 WWF Operating Company, LLC
                                           Defendant




                                            Complaint


                               Sheehan & Associates, P.C.
                                505 Northern Blvd., #311
                                  Great Neck, NY 11021
                                  Tel: (516) 303-0552
                                  Fax: (516) 234-7800



 Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
 New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
 under the circumstances, the contentions contained in the annexed documents are not frivolous.

 Dated: October 2, 2019
                                                                             /s/ Spencer Sheehan
                                                                              Spencer Sheehan
